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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:09CR280
       vs.                                 )
                                           )                       ORDER
VICTOR RODRIGUEZ,                          )
CURTIS MCCOY,                              )
                                           )
                     Defendants.           )


       This matter is before the court on the MOTION FOR EXTENSION OF TIME TO FILE
PRETRIAL MOTIONS [76] FILED BY DEFENDANT VICTOR RODRIGUEZ AND MOTION TO EXTEND TIME
FOR FILING OF PRETRIAL MOTIONS [77] FILED BY DEFENDANT CURTIS MCCOY. Upon review
of the file, the court finds an that an approximate 14-day extension should be granted.
Pretrial Motions shall be filed by September 14, 2009.

       IT IS ORDERED:

       1.      The MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS [76] FILED BY
DEFENDANT VICTOR RODRIGUEZ AND MOTION TO EXTEND TIME FOR FILING OF PRETRIAL
MOTIONS [77] FILED BY DEFENDANT CURTIS MCCOY are granted. Pretrial motions shall be
filed on or before September 14, 2009.

       2.     Defendants are ordered to file a waiver of speedy trial as soon as practicable.

        3.     The ends of justice have been served by granting such motions and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motions, i.e., the time between August 31, 2009 and
September 14, 2009, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendants’ counsel required
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED 1st day of September, 2009.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
